Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 1 of 10




                          IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OKLAHOMA

   DENNIS R. CORNWELL, Individually,                     )
   and as Personal Representative of the                 )
   Estate of RENIA A. CORNWELL,                          )
   Deceased,                                             )
                                                         )
                  Plaintiff,                             )
                                                         )
   Vs.                                                   )       Case No. 4:08-cv-00638-JHP-TLW
                                                         )
   UNION PACIFIC RAILROAD CO.                            )
   A Delaware Corporation,                               )
                                                         )
                  Defendant,                             )

                 DEFENDANT UNION PACIFIC RAILROAD CO.’S DAUBERT
                       MOTION REGARDING ROBERT PAINTER

          COMES NOW the Defendant, Union Pacific Railroad Company (“Union Pacific”), by

   and through its attorneys of record, Gibbs, Armstrong, Borochoff, Mullican & Hart, P.C., and for

   its Daubert Motion Regarding Robert Painter (“Painter”), expert witness for Plaintiff, shows the

   Court as follows:

                                   PRELIMINARY STATEMENT

          This Motion is being brought in the alternative, as Union Pacific has contemporaneously

   filed a Motion to Strike regarding this witness for the reasons set forth therein.

          Painter has been hired by Plaintiff as an accident reconstrucitonist in this case. In order

   to conduct his investigation, Painter relied on a report generated by Robert Schubert (“Schubert”)

   at Git ‘R’ Done Investigations. See Exhibit 1, Expert Report of Robert Painter dated June 25,

   2010, p. 12. Schubert’s report was generated due to Schubert’s unlawful trespass onto the

   property of Union Pacific. Further, Painter himself trespassed on Union Pacific property in order

   to conduct his reconstruction. See Exhibit 1, p. 3. Neither Painter nor Plaintiff’s counsel sought




                                                     1
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 2 of 10




   permission from Union Pacific to enter onto, measure, survey, photograph and videotape Union

   Pacific’s property, and as such, Plaintiff should not be allowed to present witnesses who will

   testify based on evidence which they unlawfully obtained.

            Further, the methodology employed by Painter is patently unreliable.                         Painter also

   assumed facts not in evidence in order to conduct his investigation, and as such, his investigation

   depends solely on speculation. He likewise did not account for obvious facts regarding the

   presence of the train at the crossing. This flawed methodology and the insufficient factual basis

   trigger the Court’s evidentiary gate-keeping responsibilities found in Daubert v. Merrell-Dow

   Pharmaceuticals, Inc., 509 U.S. 579 (1993).

                                       BRIEF FACTUAL STATEMENT

            1.      This case arises out of a collision which occurred on July 16, 2008 between a

   Union Pacific train and an automobile driven my Renia Cornwell. Mrs. Cornwell died as a result

   of the collision.

            2.       Painter has conducted an accident reconstruction for Plaintiff which relies on the

   accident investigation generated by Robert Schubert. 1 See Exhibit 1, p. 12.

                                     ARGUMENTS AND AUTHORITIES

                                         I. The Court’s Gate-Keeping Role

            Federal Rule of Evidence 702 states:

            If scientific, technical, or other specialized knowledge will assist the trier of fact
            to understand the evidence or to determine a fact in issue, a witness qualified as
            an expert by knowledge, skill, experience, training, or education, may testify

   1
    Robert Schubert’s investigation was conducted on June 13, 2010 and submitted to Plaintiff’s counsel on June 16,
   2010. On June 18, 2010, Plaintiff filed a Motion [Dkt. No. 155] for another extension of time to file his Surreply to
   Plaintiff’s Motion for Summary Judgment and his Response to Plaintiff’s Motion to Strike. The sole reason
   provided for the extension was that Plaintiff’s counsel needed time to review additional materials with Plaintiff’s
   expert witnesses. Plaintiff’s counsel received Painter’s Expert Report on Friday, June 25, 2010 (See Exhibit 1, p. 1)
   and Plaintiff’s aforementioned Surreply and Response were filed shortly after midnight on Tuesday, June 29, 2010.
   Plaintiff failed to mention the investigations and reports being generated by Schubert and Painter in his June 18th
   Motion for Extension of Time.


                                                            2
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 3 of 10




          thereto in the form of an opinion or otherwise, if (1) the testimony is based upon
          sufficient facts or data, (2) the testimony is the product of reliable principles and
          methods, and (3) the witness has applied the principles and methods reliably to
          the facts of the case.

   The Supreme Court defined the trial court’s role in this evidentiary process in Daubert by

   holding that trial courts have a “gatekeeping” function to “ensure that any and all scientific

   testimony or evidence admitted is not only relevant, but reliable.” 509 U.S. at 589 and 597. The

   Supreme Court built upon this holding in Kumho Tire Co., Ltd. v. Carmichael, finding that

   Daubert’s general gatekeeping obligation “applies not only to testimony based on ‘scientific’

   knowledge, but also to testimony based on ‘technical’ and ‘other specialized’ knowledge.” 526

   U.S. 137, 141 (1999) (citing FED. R. EVID. 702).

          This Court is charged with a gatekeeping responsibility to “ensur[e] that an expert’s

   testimony rests on a reliable foundation and is relevant to the task at hand.” Kumho, supra at 141.

   As a consequence, the Court must, before accepting the testimony and opinion of an expert

   witness, determine whether the opinion is based upon sound, reliable theory, or whether it

   constitutes rank speculation. Kumho, 526 U.S. at 141, and Daubert, 509 U.S. at 589–90. If that

   testimony is speculative, it does not constitute competent proof, and cannot be said to contribute

   to a “legally sufficient evidentiary basis” for its admission. Weisgram v. Marley Co., 528 U.S.

   440, 454, 120 S.Ct. 1011, 145 L.Ed.2d 958 (2000). Against this backdrop, this Court must

   scrutinize the opinions of Painter.

                      II.    Painter Obtained his Investigative Data Unlawfully

          On June 13, 2010, Schubert, along with Plaintiff’s counsel, conducted an accident

   recreation/investigation. This investigation and the report generated by Schubert were done for

   the benefit of Painter, who relies on Schubert’s investigation in forming his opinions. See

   Exhibit 1, p.11.   Painter likewise went to the crossing on June 9 and 10, 2010, where he took



                                                   3
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 4 of 10




   pictures, made measurements, made videos of the subject crossing, inspected the property and

   conducted other such activities for his reconstruction. See Exhibit 1, p. 2.

          The railroad track and the accompanying right-of-way are the property of Union Pacific.

   Painter did not have permission to be on Union Pacific’s property, nor was such permission

   sought prior to conducting this investigation as is required by Fed.R.Civ.Pr. 26(a)(2), despite the

   fact that such permission would have been readily granted, subject to certain safety protocols.

   As such, Painter was unlawfully trespassing on Union Pacific property.

          Rule 26(a)(2) provides that a party may serve a request on another party “to permit entry

   onto designated land…possessed or controlled by the responding property, so that the requesting

   party may inspect, measure, survey, photograph, test or sample the property.” No such request

   was served on Union Pacific. As such, Painter trespassing on Union Pacific property. Frank v.

   Mayberry, 199 OK 63, 985 P.2d 773.

          “A party is not entitled to trespass upon another party’s property to conduct an

   investigation or inspection without first notifying the other party by properly serving a request to

   produce or filing a motion to produce.” Schenk, et a. v. Halliday Real Estate, Inc., et al, 803

   S.W.2d 361, 372 (Tex. App. – Fort Worth 1990)(interpreting a Texas Rule of Civil Procedure

   modeled after Rule 26(a)(2).     The proper sanction is to exclude such expert’s report and any

   testimony in any way related to the trespass as an abuse of discovery. Id. Here, Painter’s

   testimony and report are doubly-tainted, since not only did Painter trespass, but he relied on

   Schubert’s report which is likewise tainted by Schubert’s unlawful trespass. Union Pacific

   therefore requests that this Court exclude Painter’s report and testimony, as it was acquired by

   unlawful means.




                                                    4
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 5 of 10




                      III.   Painter’s Opinions are Unreliable and Speculative

          According to Rule 702 of the Federal Rules of Evidence, the trial court, as gatekeeper,

   must ensure that any and all scientific evidence is relevant and reliable, and assists the trier of

   fact before admitting it at trial. Daubert, supra. Moreover, the burden of establishing

   admissibility rests with the party proffering the expert’s testimony. Dukes v. Illinois Cent.

   R.R.Co., 934 F.Supp., 946 (N.D. Ill. 1996) (citation omitted).

          Rule 702 establishes a two-prong test to determine the admissibility of an expert’s

   testimony: (1) the reasoning and methodology underlying the testimony must be scientifically

   reliable; and (2) the methodology must be applicable to the facts of the case at bar. Daubert, 509

   U.S. at 589-93. In addressing the principles enunciated in Daubert, the Tenth Circuit recognized

   that “[t]he plaintiff must show that the method employed by the expert in reaching the

   conclusion is scientifically sound and that the opinion is based on facts which sufficiently satisfy

   Rule 702’s reliability requirements.” Mitchell v. Gencorp Inc., 165 F.3d 778, 781 (10th Cir.

   1999)(citing Daubert, 509 U.S. at 590). Moreover, under Rule 702, admissible expert testimony

   “must be based on actual knowledge and not subjective belief or unsupported speculation.”

   Mitchell, 165 F.3d at 780. Painter’s proffered testimony fails the Daubert test because it is not

   scientifically reliable and it speculates as to matters with no factual basis. As such, this testimony

   should be excluded.

          Under Daubert, this court should consider whether an expert has reviewed relevant

   information before forming an opinion. Claar v. Burlington Northern R. Co., 29 F.3d 499, 502-

   03 (9th Cir.1994) (“Coming to a firm conclusion first and then doing research to support it is the

   antithesis of this [scientific] method.”). Federal courts have ruled expert testimony inadmissible

   where an expert fails to rule out other potential causes. See, e.g., Cloud v. Pfizer, Inc., 198




                                                     5
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 6 of 10




          Painter gives no credence to the basic fact that the decedent was driving on Flint Avenue

   prior to the collision, and did not begin her journey that day immediately in front of the crossing.

   He attempts to mask this flaw by claiming that buildings not owned by Union Pacific and a fence

   with vegetation on it also not owned by Union Pacific restricted visibility. See Exhibit 1. This

   fence is 100 feet from Union Pacific’s track and the buildings are even further away, which

   means Painter is claiming that her visibility was restricted by buildings and vegetation well

   outside of the sight triangle Union Pacific is required by law to keep free of obstructions. Seei

   OAC 165:32-1-3. He further claims that trees 380 feet from the crossing (by his own

   calculations) somehow blocked decedent’s ability to view the train. See Exhibit 1. Again,

   Painter is relying on obstructions well outside of the sight triangle, which is not only unreliable,

   but highly prejudicial in that in implies to the jury that Union Pacific has a legal duty greater than

   that which has been prescribed by law, including somehow exercising dominion over property it

   does not own.

          The flaw in this methodology is that it does not account for any of the time when the

   decedent was approaching the crossing other than immediately before the collision. “A court

   may conclude that there is simply too great an analytical gap between the data and the opinion

   proffered.” General Elec. Co. v. Joiner, 522 U.S. 136, 146 (1997) (“[N]othing in either Daubert




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Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 7 of 10




                                                                                                  supra.

           The analytical gap widens upon consideration of Painter’s claim that the visual cues for

   an approaching train are the lights on the lead locomotive. Painter further opines that this visual

   cue was blocked by the signal house at the crossing. While lights are undoubtedly important, the

   obvious visual clue of an approaching train at approximately noontime in the middle of July is

   not the lights on the train, but the train itself, especially when there is 380 feet of the train in full

   view (the trees Painter claims “masked” the train were 380 feet away). The long line of railcars

   can be seen in the pictures Painter relies on. See Exhibit 1 (Union Pacific apologizes for the poor

   quality of the pictures, but that is what was provided Union Pacific); see also Exhibit 4.




                                                      7
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 8 of 10




          In order to reach this opinion, Painter has to engage in rank speculation as to what the

   decedent was doing as she approached the crossing, and for how long. Painter speculates that as

   the decedent approached the crossing, she likely took 2.5 seconds to look to her right. There is

   no sufficient evidentiary basis for this opinion, as nobody knows what decedent was doing as she

   approached the crossing. Further, it defies common sense to think that the decedent would spend

   2.5 seconds looking to her right as a football field worth of the train was plainly visible to her

   left. Painter obviously came to the conclusion that she could not see the train, and in working

   backwards from this conclusion, was forced to speculate that the decedent was somehow

   completely ignoring the hundreds of feet of train in front of her on her left side. Painter is not

   allowed to engage in rank speculation in order to work backwards from a predetermined

   conclusion. Claar, supra; Kumho, supra.

          Lastly, Painter throws in an opinion as to the presence of the horn on the TIR. Without

   any specialized training or knowledge in acoustics or TIR interpretation, Painter’s opinion in this

   regards is a layman’s opinion which invades the province of the jury in analyzing the evidence

   before them. Grayson v. Williams, 256 F.2d 61 (10th Cir. 1958) (expert testimony is inadmissible

   in cases in which normal experience and qualification of laymen jurors enables them to draw

   proper conclusions from the given facts). Painter likewise did not review all of the witness

   depositions in this case, and thus cannot opine on matters when he has not reviewed sufficient

   facts. Daubert, supra; Claar, supra.

          There are simply too many analytical gaps in Painter’s opinions for them to be reliable or

   helpful to the jury. Joiner, supra. Further, in order to work backwards from his conclusions,

   Painter engages in rank speculation. Claar, supra; Kumho, supra. This Court should therefore

   exercise its gatekeeping role under Daubert and strike Painter’s testimony.




                                                   8
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 9 of 10




                                           CONCLUSION

          Painter’s report and testimony are based on information he and Schubert both unlawfully

   obtained by trespassing on Union Pacific’s property without requesting permission to do so

   under Rule 26(a)(2). Further, the rank speculation and analytical gaps present in his opinion

   render it unreliable and inadmissible. As such, his testimony should be stricken under Daubert.

          WHEREFORE, premises considered, the Defendant Union Pacific Railroad Co.

   respectfully requests that this Court enter an Order striking any expert opinion testimony offered

   by Robert Painter.

                                                Respectfully submitted,

                                                GIBBS, ARMSTRONG, BOROCHOFF,
                                                  MULLICAN & HART, P.C.


                                                ______/s/Michael P. Womack________
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                                                   9
Case 4:08-cv-00638-JHP-tlw Document 171 Filed in USDC ND/OK on 07/16/10 Page 10 of 10




                                  CERTIFICATE OF DELIVERY

          I hereby certify that on the 16th day of July, I electronically transmitted the foregoing

   document to the Clerk of the Court using the ECF System for filing and transmittal of Notice of

   Electronic Filing to the following ECF registrants:

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                                                ________/s/Michael P. Womack_______




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